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J. MAG. DKT.."DEF. NUMBER 4. DIST. DKT..'DEF. NUMBER 5. APPEALS DKT.!DEF. NUM,BER 6. OTHER DKT. NUMBER
2105-020280-001-'0 _
7. IN CASEMATTER OF (CueName) B. PAYMENT CATEGORY 9. TY'PE PERSON REPRESENTED 10. R§,PII{E££L¢I§TA)TIOI:I :It§PE
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U.S. v. Bcrry Felony Adult Defendant riminal Case _ .». l
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Tel¢p|m" Numben (901) 522-883 2 (2) does not wish to waive connaei, aad became tile iateresta ol]utice so ire, tile .c'
attorney willie name appears in I\‘.em 12 lived to repreaent tila p il this m F|

 

   

14. NA.N[E AND MAIL]NG ADDRESS OF LAW FIRM (only provide per lallnlction.l) or

 

Signatnre olPreald ing Jadicia.l Oi'iieu' or By Order oi' tile Conrt

 

 

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Repayment or partial repayment ordered from tile person repmeatved for this a ervlce at
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15. a. Arraignment and/or Plea /
b. Baii and Detention Hearings `I

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e. Sentencing Hearings

 

 

 

 

 

 

 

 

 

f. Revocatlon Hearings

 

 

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(Rate per hour=$ ) TOTALS:
16. a. Interviews and Cont'erenees
ing b. Obtaining and reviewing records
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9. CERT]FICA'I!ON OF ATTORNEY/PA¥EE FOR THE PERIOD 0 F SERVICE ?.|). AI’POINTMENT TERMINATION DATE 21. CASE DISPU SITION
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21 CLAIM STATUS Ci Flnel Payment [] Iaterim PaymeatNamber _ l__.i Sapplementoil‘eyment
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representation? |:l YES |___\ NO li yu, give details on additional aheets.

I swear or affirm the truth or correctness ofthe above statements.

 

 

    

 

 

 

 

 

 

 

 

 

 

 

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28. SIGNATURE OF THE PRESIDING .J'U'DlCIAL OFFICER I)A'I‘E zsn. JUDGE .' MAG. moon conn
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with Rule 55 and!or 32(b) FRCrP on

 

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Honorable Bernice Donald
US DISTRICT COURT

